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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



LAMONTE MCINTYRE, et al.,

               Plaintiff,

v.                                                          Case No. 2:18-cv-02545-KHV-KGG

UNIFIED GOVERNMENT OF WYANDOTTE
COUNTY AND KANSAS CITY, KS, et al.,

               Defendants.


          PLAINTIFFS’ RESPONSE TO MIDWEST INNOCENCE PROJECT’S
               MOTION TO INTERVENE FOR A LIMITED PURPOSE

       On August 26, 2022 the Midwest Innocence Project (“MIP”), a nonprofit law firm, filed a

motion to intervene in this action for the limited purpose of seeking the removal of obstacles to

access information regarding the above-captioned matter. Docs. 702; 703. Plaintiffs understand

that the MIP’s objectives in intervening are two-fold: (1) to file a motion to vacate the Court’s

order allowing certain documents to be filed under seal (Doc. 644); and (2) to file a motion to

modify the Court’s protective order that created certain categories of Confidential Information

and allowed certain documents to be marked “Attorneys Eyes Only” (Doc. 124). See Docs. 702;

703 at 1. Similar to Plaintiffs’ responses to the July 19, 2022 and August 4, 2022 Motions to

Intervene filed by KCUR 89.3 FM and the McClatchy Company LLC, Plaintiffs do not oppose

MIP’s intervention in the present matter for these purposes. 1


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  Plaintiffs’ Response should not be read to support the complete vacatur of the Court’s order
allowing the sealing of certain documents nor to support the complete modification of the
protective order, Docs. 644 and 124, respectively. If MIP’s Motion to Intervene (Docs. 702; 703)
is successful and it subsequently submits the motions to vacate and modify as described,
Plaintiffs will provide their arguments in regard to the unsealing or disclosure of specific
documents at that time.
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        Plaintiffs agree that MIP, as a nonprofit dedicated to correcting wrongful convictions

within its region and as a participant in other litigation concerning the Unified Government and

the Kansas City, Kansas Police Department, may intervene in this case for the limited purpose of

obtaining information about the facts underlying the case. See United Nuclear Corp. v. Cranford

Ins. Co., 905 F.2d 1424, 1427 (10th Cir. 1990); see also Barnwell v. Corrs. Corp. of Am., No.

08-2151-JWL, 2009 WL 10645266, at *3 (D. Kan. Aug. 27, 2009). Additionally, Plaintiffs agree

with MIP that its intervention is timely. United Nuclear Corp., 905 F.2d at 1426 (allowing third-

party intervention to challenge a protective order still in effect for a case that settled three years

prior). Lastly, in brief response to MIP’s argument regarding prong three of the test for

standing—redressability—Plaintiffs confirm they may be willing to provide certain information

if they are no longer restrained by the protective order. See Doc. 703, at 9, 10.

        For the reasons stated above, Plaintiffs do not oppose MIP’s intervention in this matter

for the above-described limited purposes.


Dated: September 1, 2022                        Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

        I, Cheryl A. Pilate, hereby certify that on September 1, 2022, true and correct copies of the
foregoing document was electronically filed and served via the Court’s electronic filing system on
the following counsel of record:

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